


  Lowrie, Judge,
 

  delivered the opinion of the Court: Our act of Assembly on this subject, is copied from the
  
   12Hi Ann. ch.
  
  16, and the construction given to this latter statute, ought to be given to ours. It is laid down by Lord Chief-Justice De Grey, in the case of
  
   Loyd qui tam
  
  v.
  
   Williams,
  
  (3
  
   Wills.
  
  261,) that “wherever parties make a contract for monies or other tilings and above the rate of five per centum per annum is received by the lender, the offence against the statute is complete; and even if the principal money shall never be paid, yet the offence is committed.” Judgment for the Plaintiff.
 
